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                                                    JUDGE GOTTSCHALL
                                                    MAGISTRATE JUDGE DENLOW
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